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                     IN THE UNITED STATES BANKRUTPCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                               :
                                     :                      CHAPTER 11
LITTLE WASHINGTON FABRICATORS, INC., :
                                     :
                    Debtor.          :                      Case No. 22-10695 (PMM)


               STIPULATION REGARDING JOINT CHECK AGREEMENT
                     ON REJECTED EXECUTORY CONTRACT


         NOW COMES Stewart & Tate Construction (“S&T” or the “General Contractor”), by and

through its counsel, Post & Schell, P.C., and Little Washington Fabricators, Inc. (“LWF” or the

“Debtor”), by and through its counsel, Ciardi, Ciardi & Astin, and hereby stipulate as follows:

         1.    On March 22, 2022, LWF filed a voluntary petition under Chapter 11 of the United

States Bankruptcy Code (the “Petition”) in the United States Bankruptcy Court for the Eastern

District of Pennsylvania.

         2.    The Debtor remains in possession of its property and is managing its affairs as a

Debtor-in-Possession.

         3.    On or about April 15, 2021 (approximately eleven months prior to the filing of the

Petition), LWF and S&T entered into a contract for a project known as the Blue Spring Egg Farm

and designated as Contract 21-028, wherein LWF was the subcontractor and S&T was the General

Contractor (the “Contract”).

         4.    In or about September of 2021, as part of the Contract and pursuant to the request

of LWF, S&T and LWF entered into two Joint Check Agreements (the “JCAs”) with two different

suppliers, namely Vulcraft of New York, Inc. (“Vulcraft”) and Metals USA Plates & Shapes, Inc.




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(“Metals USA”)(collectively referred to as the “Suppliers” and individually as a “Supplier”),

copies of which are attached as Exhibits A and B respectively.

         5.      The JCAs provide that S&T issue joint checks payable to LWF and each of the

Suppliers for the amount due to the Supplier for services and materials provided for the Project,

which LWF then endorses and the Supplier deposits, with the Supplier applying the amount against

the Supplier’s invoice.

         6.      The joint checks are to be delivered directly to the Supplier by S&T following

LWF’s endorsement, without the checks ever being in the possession of LWF.

         7.      From the time of execution of the JCAs, all payments for services and materials

provided to the Project by the Suppliers were paid pursuant to the JCA arrangement described

above.

         8.      On April 14, 2022, the Debtor filed its First Omnibus Motion for Authority to

Reject Certain Executory Contracts (the “First Omnibus Motion”) which contained a list of

contracts to be rejected, including the Contract.

         9.      On May 3, 2022, the Court entered an Order Approving the First Omnibus Motion

and rejecting the Contract.

         10.     At the time of the filing of the Petition, there were prepetition amounts due and

owing the Suppliers pursuant to the JCA arrangement in the following amounts: $56,716.78 for

Vulcraft; and $5,017.03 for Metals USA (“Pre-Petition Joint Checks”).

         11.     As a result of the filing of the Petition, LWF did not endorse the Pre-Petition Joint

Checks.

         12.     All equitable interest in the above referenced payments to the Suppliers belongs to

the Suppliers.



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        13.     S&T and LWF agree that the Suppliers are entitled to payment of the above

referenced amounts pursuant to the JCAs.

        14.    The Debtor and S&T agree that any signature by the Debtor on the joint checks will

in no way be deemed to reinstate the Contract and is for the sole purpose of facilitating payment

to Vulcraft and Metals USA for monies owed to them pursuant to the JCAs and the Contract.



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        WHEREFORE, Little Washington Fabricators, Inc. and Stewart & Tate Construction

respectfully request that this Honorable Court enter an Order approving this Stipulation,

authorizing LWF to endorse joint checks made payable to the Suppliers in the amounts referenced

herein, and granting such further relief as may be necessary or appropriate.



                                                     Respectfully submitted,


                                                     POST & SCHELL, P.C.


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